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                                   STATEMENT OF FACTS

       Your affiant, Jason Grassie, is a Special Agent with the Federal Bureau of Investigation
(“FBI”) assigned to the Washington Field Office. In my duties as a special agent, I conduct
criminal investigations involving wire fraud, mail fraud, corporate fraud, and identity theft, among
other violations. Currently, I am a tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As an FBI Special Agent, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        Beginning on or about January 7, 2021, after observing posts on social media platforms
made by ALEXANDER BENNETT SHEPPARD, a complainant contacted the FBI National
Threat Operations Center (NTOC) via tips.fbi.gov to report SHEPPARD for potential incitement
of terrorist activity related to the events at the U.S. Capitol on January 6, 2021. The complainant,
who was familiar with SHEPPARD from high school and had been friends on social media for
years, provided SHEPPARD’s name, his Facebook username, and his Twitter handle. The
information observed by the complainant included references to taking up arms in response to
then-President Trump losing the 2020 election. According to the complainant, a subsequent review
of the social media platforms showed that the derogatory information had been deleted.

       Social media searches conducted on or about January 19, 2021, revealed a post from
SHEPPARD dated December 30, 2020, that stated “Millions of us will be in Washington D.C. on
January 6th to protest the RIGGED election and the acts of WAR that China committed on our
country. I’ll see you there!”




        Additionally, via social media searches, an unknown male was observed, and later
identified as SHEPPARD, on an Instagram page (alexsheppard.ig) placing his location at
Washington D.C. with a caption that read “Not my president” (Photo 1). Another post showed the
same picture along with others appearing to have been taken at the same time and location (Photo
2).
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  Photo 1                                    Photo 2

       A photograph from January 6, 2021, shows SHEPPARD among a large group of rioters on
the second floor of the U.S. Capitol building pushing toward the House Chamber doors.
SHEPPARD is wearing the same clothing as in Photos 1 and 2 (Photo 3).

                                                                        Photo 3




        In video recorded inside the U.S. Capitol building on January 6, 2021, SHEPPARD is also
seen roaming the interior of the Capitol building, entering a room, and then running to the entrance
of the Speaker’s Lobby, which was still being protected by the Capitol Police (Photo 4). Videos
publicly displayed on YouTube show SHEPPARD running into the Speaker’s Lobby hall entrance
shouting, within proximity to the U.S. Capitol Police guards who still guard the doors.
SHEPPARD is observed yelling in the direction of the officers (Photo 5).
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         Photo 4




         Photo 5

        On January 19, 2021, an FBI Special Agent attempted to interview SHEPPARD at his
home. SHEPPARD indicated he desired to have counsel before answering any questions but did
state that he had driven from Powell, OH, to Washington, D.C., to protest the “rigged election”.

        On February 3, 2021, an FBI Special Agent interviewed the complainant. The complainant
was shown unmarked photographs of SHEPPARD from the day of the protests, including Photos
1, 3 and 5 from the above. The complainant identified two of the three photographs (Photos 1 and
3) as SHEPPARD, indicating the complainant’s 100% confidence. The third photograph was
Photo #5, showing a blurry SHEPPARD in front of the Speaker’s Hall. The complainant stated it
believed 70% it shows SHEPPARD but was almost sure due to the similarities.

       Your affiant has confirmed the identification of SHEPPARD. A search of law enforcement
databases revealed the driver license picture of SHEPPARD, which showed the same facial
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features observed in the photos from January 6, 2021. As noted above, the complainant stated that
the person depicted in the pictures is SHEPPARD. Subscriber information pertaining to
SHEPPARD’s social media accounts included information known to be associated with
SHEPPARD. As indicated above, three of the social media accounts had profile pictures showing
SHEPPARD. In addition, SHEPPARD’S admission that he was present in Washington, D.C., for
the protests and his social media accounts showing his presence also support that SHEPPARD is
the person depicted.

         Based on the foregoing, your Affiant submits there is probable cause to believe that
SHEPPARD violated 18 U.S.C. § 1752(a)(1) and (a)(2) which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions. For purposes of Section 1752 of
Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
building or grounds where the President or other person protected by the Secret Service, including
the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance.

        Your Affiant submits there is also probable cause to believe that SHEPPARD violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

       Finally, your affiant submits there is probable cause to believe that SHEPPARD violated
18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or impede any official
proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official
proceedings.


                                                      _________________________________
                                                      JASON GRASSIE
                                                      Special Agent
                                                      FBI
                                                      Washington Field Office

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 22nd day of February 2021.                                   Robin M. Meriweather
                                                                               2021.02.22 11:39:54
                                                      ___________________________________
                                                                         -05'00'
                                                      ROBIN MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE
